232 F.3d 854 (11th Cir. 2000)
    IRAOLA &amp; CIA, S.A., Plaintiff-Counter-Defendant-Appellant-Cross-Appellee,v.KIMBERLY-CLARK CORPORATION, J.N. Anderson, Defendants-Counter-Claimants-Appellees- Cross-Appellants,George Semones, Defendant-Appellee-Cross-Appellant.
    No. 99-8127.
    United States Court of Appeals, Eleventh Circuit.
    November 9, 2000.November 21, 2000
    
      [Copyrighted Material Omitted]
      Appeals from the United States District Court for the Northern District of  Georgia.(No. 97-01347-CV-TWT-1), Thomas W. Thrash, Judge.
      Before ANDERSON, Chief Judge, and BLACK and HALL*, Circuit Judges.
      ANDERSON, Chief Judge:
      Appellant Iraola &amp; CIA, S.A. ("Iraola") appeals the district court's  determination that subject matter jurisdiction in this action existed under 28  U.S.C.  1332. Iraola argues that  1332(a)(2) does not permit it, a foreign  company, to bring suit against defendants from different states. Alternatively,  it argues that the inclusion of foreign defendant Geo Med defeated jurisdiction.  Appellees Kimberly- Clark, J.N. Anderson, and George Semones cross-appeal,  challenging the district court's failure to award attorneys' fees.
    
    I. FACTS
    
      1
      Iraola is an Argentine company and Kimberly-Clark is a citizen of Delaware and  Texas; Appellees Anderson and Semones, employees of Kimberly-Clark, are citizens  of Georgia. Iraola contracted with Kimberly-Clark to distribute its medical  products in Argentina. After Kimberly-Clark terminated the contract, Iraola  sued, alleging that Kimberly-Clark tortiously interfered with its employee and  business relations by distributing products through former Iraola employee  Robert Alpert. Iraola named Kimberly-Clark, Anderson, and Semones as defendants  in this action. Kimberly-Clark counterclaimed for payment of unsold supplies  Iraola retained at the time of the contract termination.
    
    
      2
      Iraola also named as a defendant Geo Med, the company through which  Kimberly-Clark distributed its products in Argentina before its contract with  Iraola was terminated. Geo Med invoices that Iraola obtained showed a Georgia  address and telephone number that Iraola learned belonged to defendant Semones,  a Kimberly- Clark employee. Thus Iraola thought that Semones owned and operated  Geo Med and that it was based in Georgia. It was unable to serve Geo Med and  learned in discovery that the company was in fact owned by Iraola's former  employee, Alpert, a citizen of Argentina. The Appellees maintain that Geo Med is  a fictitious company, and that Alpert just used the name as a straw company for  Kimberly-Clark to send its products for shipment to Argentina.
    
    
      3
      Iraola claims that it only learned in early August that Geo Med was owned by  Alpert and thus arguably an Argentine entity. It claims that it acted promptly,  advising the district court that the addition of Geo Med would destroy subject  matter jurisdiction and suggesting to the Appellees that all of the parties  should jointly dismiss the case so that it could be brought in state court. The  Appellees refused to agree to a voluntary dismissal of the suit and thus Iraola  made a motion to dismiss before the district court. The parties went ahead with  the rest of discovery, and the Appellees filed a motion for summary judgment and  default judgment on the counterclaim because Iraola never responded to it.
    
    
      4
      The district court ruled on the motions for dismissal, summary judgment, and  default judgment at the same time. The court first granted a default judgment in  favor of Kimberly-Clark on its counterclaim for payment for unsold supplies  because Iraola had never responded to the counterclaim. Then the district court  granted Iraola's motion for voluntary dismissal under Fed.R.Civ.P. 41(a)(2).1  The court did not rule on whether the Appellees were entitled to attorneys' fees  in light of the voluntary dismissal.
    
    II. DISCUSSION
    
      5
      A.Section 1332(a)(2) Diversity Where the Parties on One Side are Citizens of  Different States and the Party on the Other Side is the Citizen or Subject of  a Foreign State.
    
    
      6
      As noted above, Iraola, a citizen of a foreign state, sued Kimberly-Clark, a  citizen of Delaware and Texas, and two Georgia citizens, Anderson and Semones.  Iraola's primary argument on appeal is that there is no diversity jurisdiction  here. Iraola argues that 28 U.S.C.  1332(a)(2) provides diversity jurisdiction,  in a case where the parties on one side are citizens or subjects of a foreign  state, only where the parties on the other side are citizens of a single state.  In other words, Iraola argues that there is no diversity jurisdiction in a case  involving citizens or subjects of a foreign state on one side where the parties  on the other side are citizens of different states. Thus, Iraola argues that  there is no diversity jurisdiction in the instant case because the parties on  the Kimberly- Clark side of the case include citizens of several different  states-Delaware and Texas in the case of Kimberly-Clark and Georgia in the case  of Anderson and Semones. Section 1332(a)(2) provides, in pertinent part:
    
    
      7
      (a) The district courts shall have original jurisdiction of all civil actions  where the matter in controversy exceeds the sum or value of $75,000, exclusive  of interest and costs, and is between -
    
    
      8
      ...
    
    
      9
      (2) citizens of a State and citizens or subjects of a foreign state;
    
    
      10
      (Emphasis added). Iraola argues that the plain meaning of the statute is that  all non-foreign parties must be from a single state. Iraola derives this  argument from the statute's use of the article "a" in the phrase "citizens of a  State."
    
    
      11
      This Court recently stated "[i]n construing a statute we must begin, and often  should end as well, with the language of the statute itself." United States v.  Steele, 147 F.3d 1316, 1318 (11th Cir.1998)(en banc)(internal quotation and  citation omitted). However, we have held that where the language is ambiguous,  resort to legislative history is appropriate. See Lyes v. City of Riviera Beach,  Fla., 166 F.3d 1332, 1337 (11th Cir.1999)(en banc); United States v. DBB, Inc.,  180 F.3d 1277, 1281 (11th Cir.1999)("We will only look beyond the plain language  of the statute at extrinsic materials to determine the congressional intent if:  (1) the statute's language is ambiguous; (2) applying it according to its plain  meaning would lead to an absurd result; or (3) there is clear evidence of  contrary legislative intent."); Bryant v. Avado Brands, Inc., 187 F.3d 1271  (11th Cir.1999)("When interpreting a statute, we look to its plain language,  resorting to the legislative history in an attempt to discern congressional  intent only when the language of the statute is unclear.").
    
    
      12
      Thus, we first examine the language of the statute for ambiguity. Certainly the  meaning that Iraola has proffered is one possible reading of the statute.  However, the same language is capable of another plausible interpretation: each  non-foreign party must be the citizen of "a" State and cannot be a citizen of a  foreign state or a stateless expatriate. See, e.g., Sadat v. Mertes, 615 F.2d  1176 (7th Cir.1980)(holding that jurisdiction under  1332(a)(2) did not exist  over a stateless expatriate). In other words, in a case involving citizens of  several states as plaintiffs, and citizens of a foreign state as defendants, one  has a case fitting literally within the language of the statute: "citizens of a  State and citizens of a foreign state." Each plaintiff is a "citizen of a  State," i.e. a citizen of one of these United States. Because the language of  the statute can be read in two plausible ways, we conclude that the statute is  ambiguous, and thus we examine the structure and the purpose of the statute as  well as its legislative history.
    
    
      13
      Congress first adopted the language at issue in 1875. See Act of March 3, 1875,  ch. 137, 18 Stat. 470 (1875). At that time, the statute was not limited to  diversity jurisdiction and instead defined the original jurisdiction of the  federal circuit courts. The statute only permitted diversity jurisdiction  between "citizens of different States" and between "citizens of a State and  foreign states, citizens, or subjects." Id. It was not until 1948 that Congress  created  1332, a separate statute covering only diversity jurisdiction.2
    
    
      14
      Focusing on the statute as it existed in 1948, it is clear that its structure  indicates that Congress intended to provide a federal forum where the parties  were diverse. For example,  1332(a)(1) provides a federal forum where the  opposing parties are "citizens of different States." Under this section, there  is diversity jurisdiction where the opposing parties are diverse, regardless of  whether the parties on any given side of the case are citizens of a single state  or are citizens of several states. See, e.g., Glickstein v. Sun Bank/Miami, N.A.  922 F.2d 666, 668 (11th Cir.1991). The clear intent of Congress was to provide a  federal forum where the parties are diverse. Similarly,  1332(a)(3)3 reinforces  the proposition that the congressional intent was to provide a federal forum  where the parties are diverse. In subparagraph (3), Congress explicitly  indicates that the necessary diversity is present so long as the opposing  parties are citizens of different states, and that this diversity is not  undermined by the mere fact that there are additional parties who are citizens  or subjects of a foreign state. Again, the structure of the statute reveals the  congressional purpose to provide a federal forum where the opposing parties are  diverse.
    
    
      15
      Additionally, the legislative history bolsters this interpretation that Congress  intended to provide a federal forum for diverse parties. In 1948, when Congress  reorganized and modified the existing statute on original jurisdiction, it  clarified and broadened diversity jurisdiction. Previously, the statute had  clearly covered actions between aliens and citizens as well as actions between  citizens of different states. See 28 U.S.C.  41 (1940 ed.). However, the courts  were split over whether the statute permitted actions where there was a citizen  of one state on one side, and, on the other side, there was both a citizen of a  state and an alien. See 1 James Wm. Moore et al., Moore's Federal Practice, ¶  0.75[1-1], at 709.2 (3d. ed.1999). Through the enactment of 1332(a)(3), the 1948  revisions clarified that such jurisdiction did exist and thus satisfied the aim  of replacing confusing language, which led to circuit splits, with a "[c]oncise,  clear, and direct expression[ ]." H.R.Rep. No. 308, 80th Cong., 1st Sess. 5  (1947), reprinted in 1948 U.S.Code Cong. Serv. 1696.
    
    
      16
      When Congress amended  1332 in 1976, it added an additional paragraph, i.e.  subparagraph (4), which provided for suits between "a foreign state ... as  plaintiff and citizens of a State or of different States." At the same time, the  amendment removed the term "foreign states" from subparagraph (2). Subparagraph  (4) provides jurisdiction for foreign states as plaintiffs; 28 U.S.C.  1330  provides the jurisdictional basis for cases in which a foreign state is a  defendant. Subparagraph (4) was part of a larger act, which defined the  circumstances when a foreign state could sue or be sued in federal courts. See  Foreign Sovereign Immunities Act, Pub.L. 94-583, 90 Stat. 2891 (1976).
    
    
      17
      To support its interpretation of  1332(a)(2), Iraola cites the canon of  statutory interpretation that "identical words used in the same act are intended  to have the same meaning." This canon of interpretation is based upon the  presumption that in drafting provisions of the same statute, when Congress uses  different language in similar sections, it intends different meanings. See  United States v. Gonzales, 520 U.S. 1, 5, 117 S.Ct. 1032, 1035, 137 L.Ed.2d 132  (1997). Iraola points to the inclusive language in  1332(a)(4), which permits  suits against "citizens of a State or of different States," and argues that the  presence of that language in the newer paragraph demonstrates that Congress did  not intend to include parties from multiple states under subparagraph (2).  However, there is nothing in the legislative history of the act that added (4)  and amended (2) that suggests Congress intended a different treatment for  foreign states (subparagraph (4)) and foreign subjects or citizens (subparagraph  (2)). See generally H.R.Rep. No. 94- 1487 (1976), reprinted in 1976 U.S.C.C.A.N.  6604. Indeed, there is nothing in the legislative history that discusses the  meaning of  1332(a)(2) after the language regarding foreign states was removed.  See id. Given that the relevant language in  1332(a)(2) and (4) was written at  different times, and that the emphasis of the Congress at the time of the 1976  amendment was clearly upon foreign states in federal courts and not upon  jurisdiction in general, we do not believe that the  identical-words-in-the-same-act canon supports Iraola's interpretation in this  case. Indeed, an equally plausible interpretation is that Congress was just  making explicit in subparagraph (4) the central and well-established concept of  providing the federal forum where the opposing parties are diverse.
    
    
      18
      Since the time of the adoption of the language at issue, no court has  interpreted it in the manner in which Iraola suggests. In fact, the courts that  have specifically addressed this interpretation have rejected it. See De Korwin  v. First National Bank of Chicago, 156 F.2d 858 (7th Cir.1946); Jaffe v. Boyles,  616 F.Supp. 1371, 1374-75 (W.D.N.Y.1985); Niccum v. Northern Assurance Co., 17  F.2d 160 (D.Ind.1927). Furthermore, there are many cases that have permitted  citizens of different states to sue or be sued by a foreign citizen but have not  specifically addressed the interpretation offered by Iraola. See, e.g.,  Mutuelles Unies v. Kroll &amp; Linstrom, 957 F.2d 707 (9th Cir.1992); Dullard v.  Berkeley Assoc. Co., 606 F.2d 890, 893 (2d Cir.1979); Jackson v. Heiser, 111  F.2d 310, 312 (9th Cir.1940); China Nuclear Energy Industry Corp. v. Arthur  Andersen, LLP, 11 F.Supp.2d 1256, 1258 (D.Colo.1998); Galaxy Investment Fund v.  Fenchurch Capital Management, Ltd., No. 96 C 8098 (N.D.Ill. Aug.29, 1997);  Diatronics, Inc. v. Elbit Computers, Ltd., 649 F.Supp. 122, 125 (S.D.N.Y.1986);  Lavan Petroleum Co. v. Underwriters at Lloyds, 334 F.Supp. 1069, 1071  (S.D.N.Y.1971). These cases finding jurisdiction have both preceded and followed  the 1976 amendment upon which Iraola relies.
    
    
      19
      We concluded above that the identical-words-in-the-same-act canon does not  support Iraola's interpretation. Moreover, a different canon of statutory  interpretation supports the interpretation that  1332(a)(2) permits  jurisdiction in cases with aliens on one side and citizens of different states  on the other. Congress is presumed to know the federal courts' interpretation of  a statute that it intends to amend. See Ankenbrandt v. Richards, 504 U.S. 689,  700, 112 S.Ct. 2206, 2214, 119 L.Ed.2d 468 (1992). Thus Congress is presumed to  know that all of the courts that interpreted the language in  1332(a) before  the 1976 amendment and its precursors had interpreted the language in (2) to  include suits involving aliens on one side and citizens of different states on  the other. Where there is no indication that Congress intended to change the  meaning courts have given to the statute, we are to presume that it did not  intend any such change. See id.; see also Fourco Glass Co. v. Transmirra  Products Corp., 353 U.S. 222, 227, 77 S.Ct. 787, 790-791, 1 L.Ed.2d 786  (1957)(holding that,with respect to the 1948 remodification of the Judicial  Code, "no changes of law or policy are to be presumed from changes of language  in the revision unless an intent to make such changes is clearly expressed.").
    
    
      20
      While one possible interpretation of the language in  1332(a)(2) does support  Iraola's position, we decline to adopt it in light of the more reasonable  meaning that the same language sustains, a meaning consistent with courts'  interpretation of the statute both before and after the 1976 amendment. Adopting  Iraola's interpretation would result in incongruous results. For example, a  corporation which is a citizen of two states would not be able to bring suit  against citizens of a foreign state in federal court while corporations with one  citizenship could. We do not believe that Congress intended such a result. In  rejecting the interpretation Iraola proffers, we join all of the courts that  have specifically decided this issue and those that have assumed that the  statute encompassed actions between citizens of a foreign state on one side and  citizens from different states on the other.
    
    
      21
      B.Diversity Jurisdiction where Subjects or Citizens of Foreign States are on  Opposite Sides of the Lawsuit.
    
    
      22
      Next we turn to Iraola's argument that the inclusion of defendant Geo Med also  divests the court of subject matter jurisdiction. Iraola named Geo Med as a  defendant, believing that it was a Georgia corporation, based on invoices that  listed a Georgia address. However, after several failed attempts to serve Geo  Med at that address, Iraola learned at a deposition that Geo Med was instead a  creation of Argentine citizen Robert Alpert. Iraola thus argues that Geo Med is  a citizen of Argentina and that the existence of foreign entities on both sides  of the lawsuit defeats jurisdiction. The Appellees respond by stating that Geo  Med is a fictitious entity and thus cannot be a party to the suit.
    
    
      23
      It is a standard rule that federal courts do not have diversity jurisdiction  over cases where there are foreign entities on both sides of the action, without  the presence of citizens of a state on both sides. See Cabalceta v. Standard  Fruit Co., 883 F.2d 1553, 1558 (11th Cir.1989). And because unincorporated  entities are attributed the citizenship of their owners, see Bass v.  International Brotherhood of Boilermakers, 630 F.2d 1058, 1067 n. 17 (5th  Cir.1980),4 that rule would mean that Geo Med is an Argentinian entity because  its owner, Alpert, is Argentinian. Diversity of the parties is determined at the  time that the complaint is filed, see Freeport-McMoRan, Inc. v. K N Energy,  Inc., 498 U.S. 426, 428, 111 S.Ct. 858, 860, 112 L.Ed.2d 951 (1991), and two  circuits have determined that an unserved party's citizenship is considered in  the calculus for assessing diversity, see Howell v. Tribune Entertainment, 106  F.3d 215, 217-18 (7th Cir.1997); Oppenheim v. Sterling, 368 F.2d 516, 518 (10th  Cir.1966). We assume arguendo, without deciding, that the diversity analysis  would include an unserved defendant whose foreign citizenship was not known  until after discovery had begun. Accordingly, if Geo Med, an Argentine entity,  is considered in the diversity analysis, this court would not have jurisdiction.
    
    
      24
      However, this court can dismiss a dispensable party in order to retain  jurisdiction. See Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826, 833, 109  S.Ct. 2218, 2223, 104 L.Ed.2d 893 (1989); Ingram v. CSX Transportation, Inc.,  146 F.3d 858, 863 (11th Cir.1998). Such power is to be used sparingly, and the  court should carefully consider whether one of the parties will be prejudiced by  the dismissal. See id. at 837-38, 109 S.Ct. at 2225.
    
    
      25
      Here, Iraola's only claim of prejudice is that it will suffer a tactical  disadvantage if Geo Med is dismissed from the action. Specifically, Iraola  asserts that prosecuting its claims against both Kimberly-Clark and Geo Med in  the same court provides a tactical advantage. The problem with this argument is  that Iraola sought, and obtained from the district court, permission to  voluntarily dismiss this action so that it could sue all of the defendants in  state court. The district court granted Iraola's request for voluntary dismissal  without prejudice pursuant to Fed.R.Civ.P. 41(a)(2), but only after ruling on  Kimberly-Clark's counterclaim which had no independent jurisdictional basis.  Thus Iraola is now free to pursue its claim against Kimberly-Clark and Geo Med  in state court; Iraola's sole assertion of prejudice is nonexistent. We readily  conclude that dismissing Geo Med as a dispensable party will not prejudice  Iraola, and thus that Geo Med should be dismissed pursuant to Newman-Green and  Ingram.
    
    
      26
      Iraola also argues that Geo Med is an indispensable party. Because Iraola's  claims were not adjudicated below and only Kimberly-Clark's counterclaim against  Iraola was adjudicated before the court ordered the dismissal, only that  counterclaim figures into the analysis of whether Geo Med is an indispensable  party. Geo Med had no relation to that counterclaim and thus, under the factors  enumerated in Fed.R.Civ.P. 19(b),5 it cannot be considered an indispensable  party. Therefore, because Iraola will not be prejudiced and Geo Med is not an  indispensable party, we dismiss Geo Med as a party.
    
    
      27
      C.Attorneys' Fees Pursuant to the District Court's Grant of Iraola's Motion  for Voluntary Dismissal under Fed.R.Civ.P. 41(a)(2).
    
    
      28
      When Iraola filed for voluntary dismissal, the Appellees opposed the motion and  asked the court to impose certain conditions if it granted the motion.  Specifically, the Appellees sought an award of attorneys' fees that would cover  the expenses they incurred in pursuing matters that would be useless in  subsequent litigation. The district court did not address the Appellees' request  and denied it by implication.
    
    
      29
      Rule 41(a)(2)6 allows a plaintiff to dismiss an action voluntarily once he  receives approval of the district court. The rule also permits the court to  attach certain conditions to its order, such as those requested by the  Appellees.
    
    
      30
      In McCants v. Ford Motor Co., 781 F.2d 855 (11th Cir.1986), the plaintiff sought  and received a Rule 41(a)(2) dismissal so that she could bring suit against the  defendants in another court. Although the defendants sought attorneys' fees for  the work done in that case that would not be applicable in the new case, the  court denied the request by implication. We held that we could not determine if  the court abused its discretion because the court did not list any of the  factors that it used in making the determination. See id. at 861. Thus we  remanded the case, with instructions for the district court to state its  findings and conclusions. See id. This is precisely what occurred in this case  and thus we remand with instructions to the court to state its findings and  conclusions.
    
    III. CONCLUSION
    
      31
      We reject Iraola's two jurisdictional challenges for the reasons above stated,  and thus we affirm in part. However, the district court was required to state  its findings and conclusions regarding its failure to award attorneys' fees, and  thus we vacate in part and remand.
    
    
      32
      AFFIRMED IN PART, VACATED IN PART and REMANDED.
    
    
      
        NOTES:
      
      
        *
         Honorable Cynthia H. Hall, U.S. Circuit Judge for the Ninth Circuit, sitting by  designation.
      
      
        1
         Had the district court granted the dismissal first, it would not have had  jurisdiction to grant the default judgment because that claim did not have an  independent jurisdictional basis.
      
      
        2
         The 1948 version of 28 U.S.C.  1332 stated, in pertinent part:
        (a) The district courts shall have original jurisdiction of all civil actions  where the matter in controversy exceeds the sum or value of $10,000, exclusive  of interest and costs, and is between -
        (1) citizens of different States;
        (2) citizens of a State, and foreign states or citizens or subjects thereof; and
        (3) citizens of different States and in which foreign states or citizens or  subjects thereof are additional parties.
      
      
        3
         28 U.S.C.  1332(a)(3) permits diversity jurisdiction between "citizens of  different States and in which citizens or subjects of a foreign state are  additional parties."
      
      
        4
         In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981)(en banc),  this Court adopted as binding precedent all of the decisions of the former Fifth  Circuit handed down prior to the close of business on September 30, 1981.
      
      
        5
         Rule 19(b) provides:
        Determination by Court Whenever Joinder not Feasible.... The factors to be  considered by the court include: first, to what extent a judgment rendered in  the person's absence might be prejudicial to the person or those already  parties; second, the extent to which, by protective provisions in the judgment,  by the shaping of relief, or other measures, the prejudice can be lessened or  avoided; third, whether a judgment rendered in the person's absence will be  adequate; fourth, whether the plaintiff will have an adequate remedy if the  action is dismissed for nonjoinder.
      
      
        6
         Rule 41(a)(2) provides:
        By Order of Court. Except as provided in paragraph (1) of this subdivision of  this rule, an action shall not be dismissed at the plaintiff's instance save  upon order of the court and upon such terms and conditions as the court deems  proper. If a counterclaim has been pleaded by a defendant prior to the service  upon the defendant of the plaintiff's motion to dismiss, the action shall not be  dismissed against the defendant's objection unless the counterclaim can remain  pending for independent adjudication by the court. Unless otherwise specified in  the order, a dismissal under this paragraph is without prejudice.
      
    
    